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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW JERSEY

THE REGENTS OF THE UNIVERSITY OF 5.
CALIFORNIA, a public trust corporation, on Case No,: 2:24-cv-7482-BRM-
behalf of the University of California, Irvine CLW
Medical Center,
FILED ELECTRONICALLY
Plaintiff,
Vv. CONSENT ORDER SETTING

HORIZON BLUE CROSS BLUE SHIELD Mord ON TO DISMtse FOR
OF NEW JERSEY,

Defendant.

IT IS HEREBY stipulated and agreed by and between counsel for Plaintiff,
The Regents of the University of California, and counsel for Defendant, Horizon
Blue Cross Blue Shield of New Jersey, that the parties shall brief the motion to
dismiss as follows:

October 9, 2024 Horizon shall file its motion to dismiss

November 8, 2024 Plaintiff shall file its opposition

November 22, 2024 Horizon shall file its reply brief
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Dated: September 13, 2024

/s/ Karlene J. Rogers-Aberman fs/ Adam J. Petitt
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Brian R, Martinotti
United States District Judge

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